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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

GLENWOOD SYSTEMS, LLC                       :
    Plaintiff                               :      Case No. 3:09 CV 956 (WWE)
                                            :
vs.                                         :
                                            :
MED-PRO IDEAL SOLUTIONS, INC.;              :
MED-PRO HEALTH CARE SERVICES                :
PRIVATE LIMITED; G. JAI BALAJI;             :
N.S. RAJIV KUMAR; K. SIVAKUMAR              :
AND VENKATARAGHAVANTAIYAR                   :
ARAVAMUDHAN,                                :
      Defendants                            :      SEPTEMBER 29, 2009


              MEMORANDUM OF LAW IN SUPPORT OF RULE
          12(b)(2) MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION AS TO MED-PRO HEALTH CARE SERVICES
      LIMITED, G. JAI BALAJI, N.S. RAJIV KUMAR AND K. SIVA KUMAR


       Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, defendants

Med-Pro Health Care Services Private Limited (“Med-Pro Private Limited”), G. Jai

Balaji, N.S. Rajiv Kumar and K. Siva Kumar (collectively, the “Indian Defendants”)

hereby respectfully move to dismiss this action, because as set forth below, this court

lacks personal jurisdiction over them.

       Specifically, plaintiff Glenwood Systems, LLC (“Glenwood”) cannot establish

that the Indian Defendants are subject to personal jurisdiction under Connecticut’s long-
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arm statute or satisfy any of the elements of personal jurisdiction under Conn. Gen. Stat.

' 52-59b(a), because Glenwood does not allege and cannot show that the Indian

Defendants:

                (1) Transact any business within the state; (2) committed a
                tortious act within the state; (3) committed a tortious act
                outside the state causing injury to person or property within
                the state and that they (A) regularly do or solicit business,
                or engage in any other persistent course of conduct, or
                derive substantial revenue from goods used or consumed or
                services rendered, in the state, or (B) expect or should
                reasonably expect the act to have consequences in the state
                and derive substantial revenue from interstate or
                international commerce; (4) own, use or possess any real
                property situated within the state; or (5) use a computer . . .
                or a computer network . . . located within the state.
                (emphasis added).

        In addition, Glenwood is unable to satisfy its burden of showing that the exercise

of jurisdiction over the Indian Defendants by this court would be consistent with

constitutional due process requirements, because the Indian Defendants lack sufficient

minimum contacts with Connecticut to support the exercise of personal jurisdiction over

them, and exercising jurisdiction over them would be unreasonable in the circumstances

of this case.




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                                   BACKGROUND

       The parties to this litigation all perform medical billing services for physician

practice groups located in the United States. Glenwood is a Connecticut company that

handles billing for physicians in Connecticut and elsewhere in the United States. Co-

defendants Venkataraghavantaiyar Aravamudhan (“Venkat”) and his company, Med-Pro

Ideal Solutions, Inc. (“Med-Pro US”), are based in California and also provide billing

services for physicians in the United States. Defendants G. Jai Balaji, N.S. Rajiv Kumar

and K. Siva Kumar, all residents of the Republic of India (the “Individual Indian

Defendants”) are directors and employees of defendant Med-Pro Private Limited, a

business entity formed and existing under the laws of India. As set forth below, Med-Pro

US and Med-Pro Private Limited are wholly unrelated entities.

1.     The Allegations of Plaintiff’s Complaint

       In its Complaint, Glenwood claims that several employees of “a sister company”

to the plaintiff, L Cube Mirco, located in Chennai, India, wrongfully obtained

Glenwood’s proprietary business information through their employment with L Cube.

The complaint alleges that these individuals formed another Indian corporation, Med-Pro

Private Limited, which purportedly “used the confidential and proprietary information

gained from their employment with L Cube to interfere with the business relationship




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between the plaintiff” and various physicians, in some unspecified way. Glenwood’s

complaint fails to disclose the nature of the purported proprietary business information or

the basis for its claim that the information is confidential. Glenwood also does not allege

how the defendants used the purportedly confidential information, nor does it allege how

the defendants’ alleged misconduct was wrongful.        What is clear from Glenwood’s

complaint is that the alleged wrongful conduct of the Indian Defendants, which is denied,

purportedly occurred in the Republic of India and bears no relationship to Connecticut.

2.     Med-Pro Private Limited and Individual Indian Defendants Lack Minimum
       Contacts with the State of Connecticut

       As the plaintiff Glenwood states in its complaint, the Indian Defendants perform

in India certain “back office” aspects of medical billing. Med-Pro Private Limited is a

corporation organized and existing under the laws of the Republic of India and was

founded in June, 2008. Affidavit of Jai Balaji (“Balaji Aff.”) at ¶ 4 (attached hereto at

Exhibit A); Affidavit of K. Siva Kumar (“KS Kumar Aff.”) at ¶ 4 (attached hereto at

Exhibit B); Affidavit of N.S. Rajiv Kumar Affidavit (“NSR Kumar Aff.”) at ¶ 4

(attached hereto at Exhibit C); Affidavit of Jai Balaji, on behalf of Med-Pro Private

Limited (“Med-Pro Private Limited Aff.”) at ¶ 5 (attached hereto at Exhibit D). In

August, 2008, co-defendant Venkataraghavantaiyar Aravamudhan (“Venkat”) traveled to

India where the Individual Indian Defendants met with him to discuss the possibility of a




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business opportunity in medical billing. Balaji Aff. at ¶ 6; KS Kumar Aff. at ¶ 6; NSR

Kumar Aff. at ¶ 6; Med-Pro Private Limited Aff. at ¶ 7. As a result of this meeting and

discussions, Venkat agreed to outsource some of his US billing work to Med-Pro Private

Limited. Id.

        As a result, Med-Pro US, a California corporation wholly owned by Venkat and

completely separate from and independent of Med-Pro Private Limited, outsourced

certain medical billing work for its clients (includes two clients in Connecticut) to Med-

Pro Private Limited. Balaji Aff. at ¶ 7; KS Kumar Aff. at ¶ 7; NSR Kumar Aff. at ¶ 7;

Med-Pro Private Limited Aff. at ¶ 8. This outsourced work was to be performed by

employees of Med-Pro Private Limited at its location in Chennai, Republic of India. Id.

        Other than work Med-Pro US assigned to Med-Pro Private Limited, none of the

Individual Indian Defendants nor Med-Pro Private Limited have had any direct business

contracts or arrangements with any clients in the United States. Balaji Aff. at ¶ 8; KS

Kumar Aff. at ¶ 8; NSR Kumar Aff. at ¶ 8; Med-Pro Private Limited Aff. at ¶ 9. No

owners, directors or employees of Med-Pro Private Limited, including without limitation

the Individual Indian Defendants, have ever traveled to Connecticut, and such persons

have never engaged in any business development efforts in Connecticut through the use

of advertising, telephone communication, internet or any other mode of communication




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or advertising. Balaji Aff. at ¶ 9; KS Kumar Aff. at ¶ 9; NSR Kumar Aff. at ¶ 9; Med-

Pro Private Limited Aff. at ¶ 10.

       Each of the Individual Indian Defendants has only conducted telephone calls and

electronic communications with clients in Connecticut in their position as an

employee/officer of Med-Pro Private Limited and only for the purpose of handling billing

issues with existing clients referred by Med-Pro US to Med-Pro Private Limited. Balaji

Aff. at ¶ 10; KS Kumar Aff. at ¶ 10; NSR Kumar Aff. at ¶ 10. Med-Pro Private

Limited’s communications with individuals in Connecticut have been solely for the

purpose of handling billing issues with existing clients referred by Med-Pro US. Med-

Pro Private Limited Aff. at ¶ 11.

       The Individual Indian Defendants and Med-Pro Private Limited did not breach

any contract with any previous Indian employer, and they did not at any time contact any

clients of Glenwood Systems, LLC for purposes of recruiting them as clients. Balaji Aff.

at ¶ 11; KS Kumar Aff. at ¶ 11; NSR Kumar Aff. at ¶ 11; Med-Pro Private Limited Aff.

at ¶ 12. Moreover, the Individual Indian Defendants and Med-Pro Private Limited have

never possessed, copied or used any confidential business information belonging to L

Cube Innovative Solutions Private Ltd, Glenwood Micro Systems Private Ltd or

Glenwood Systems, LLC. Balaji Aff. at ¶ 12; KS Kumar Aff. at ¶ 12; NSR Kumar Aff.




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at ¶ 12; Med-Pro Private Limited Aff. at ¶ 13. The Indian Defendants do not and have

never owned or leased any real estate or personal property in Connecticut, do not have

bank accounts, a telephone, agents, or any computer networks or computers in

Connecticut. Balaji Aff. at ¶¶ 13, 14; KS Kumar Aff. at ¶¶ 13, 14; NSR Kumar Aff. at ¶¶

13, 14; Med-Pro Private Limited Aff. at ¶¶ 14, 15. Med-Pro US provided a voice-over

internet service with an 860 area code for its clients to contact Med-Pro Private Limited

for billing inquiries. Balaji Aff. at ¶¶ 14; KS Kumar Aff. at ¶¶ 14; NSR Kumar Aff. at ¶¶

14; Med-Pro Private Limited Aff. at ¶¶ 15.

       The Indian Defendants have never filed suit or been sued in Connecticut, except

for this lawsuit, have never employed anyone in Connecticut, have not transacted

business in Connecticut or purchased or sold goods and services in Connecticut. Balaji

Aff. at ¶¶ 15-17; KS Kumar Aff. at ¶¶ 15-17; NSR Kumar Aff. at ¶¶ 15-17; Med-Pro

Private Limited Aff. at ¶¶ 16-18. Moreover, Med-Pro Private Limited’s and all of the

Individual Indian Defendants’ work is conducted in India and all of their income is

earned from activities in India. Balaji Aff. at ¶¶ 17, 18; KS Kumar Aff. at ¶¶ 17, 18;

NSR Kumar Aff. at ¶¶ 17, 18; Med-Pro Private Limited Aff. at ¶¶ 18, 19.

       Finally, the Indian Defendants never expected to be sued in Connecticut since all

of their activities are conducted in India and the Individual Indian Defendants have not




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traveled outside of India to visit any clients or conduct any business with or for them in

Connecticut or elsewhere. Balaji Aff. at ¶ 19; KS Kumar Aff. at ¶ 19; NSR Kumar Aff.

at ¶ 19; Med-Pro Private Limited Aff. at ¶ 20. In light of its great distance from India,

the defense of this lawsuit in Connecticut will be, an already has been, inconvenient and

unduly burdensome in terms of time and expense for all the Indian Defendants. Balaji

Aff. at ¶ 20; KS Kumar Aff. at ¶ 20; NSR Kumar Aff. at ¶ 20; Med-Pro Private Limited

Aff. at ¶ 21.



                                 LEGAL STANDARD

        The Indian Defendants move to dismiss the amended complaint pursuant to

Federal Rule of Civil Procedure 12(b)(2). When personal jurisdiction is challenged, the

plaintiff bears the burden of proving the existence of jurisdiction over the moving

defendants. See Hayes Constr. Co. v. Int’l Fid. Inc. Co., No. 03CV1669, 2004 WL

1498119 at 2 (D. Conn. June 23, 2004).

        To determine whether personal jurisdiction exists, the Court must conduct a two-

part inquiry: first, whether jurisdiction exists under Connecticut law and second, whether

exercise of personal jurisdiction over the Indian Defendants comports with principles of

due process. See Grand River Enterprises Six Nations, Ltd. V. Pryor, 425 F.3d 158, 165




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(2d Cir. 2005).    For the following reasons, there is no jurisdiction over the Indian

Defendants under Connecticut law because they are not within the scope of Connecticut’s

long-arm statute, and exercising jurisdiction over the Indian Defendants would not

comport with constitutional notions of due process.



                                      ARGUMENT

A.     The Indian Defendants Are Not Subject to Jurisdiction Under Connecticut’s
       Long-Arm Statute

       Connecticut General Statutes § 52-59b(a) governs the exercise of jurisdiction over

nonresidents of the state. Under this statute, personal jurisdiction over a nonresident

individual exits if the individual or his agent: (1) Transacts any business within the state;

(2) committed a tortious act within the state; (3) committed a tortious act outside the state

causing injury to person or property within the state and that they (A) regularly do or

solicit business, or engage in any other persistent course of conduct, or derive substantial

revenue from goods used or consumed or services rendered, in the state, or (B) expect or

should reasonably expect the act to have consequences in the state and derive substantial

revenue from interstate or international commerce; (4) own, use or possess any real

property situated within the state; or (5) use a computer . . . or a computer network . . .




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located within the state. As to the Indian Defendants, these statutory requirements are not

satisfied.

        In this matter, and as reflected in the appended affidavits and as described above,

the Indian Defendants do not transact any business in Connecticut. Moreover, they have

not committed any tort in Connecticut nor does the Complaint allege that they have done

so. Furthermore, they have not committed any tortious act outside of Connecticut which

harmed anyone in Connecticut. Even if such an act and harm could be shown, the

attached affidavits make clear that the Indian Defendants do not regularly do or solicit

business in Connecticut, or engage in any other persistent course of conduct, or derive

substantial revenue from services rendered in the state, nor do the Indian Defendants have

any reasonable expectation that their activities would have consequences in Connecticut,

nor do they own, use or possess real properly in Connecticut or use a computer or

computer network within Connecticut. As a result, the Indian Defendants are not subject

to personal jurisdiction under Conn. Gen. Stat. § 52-59b.

        In addition, and as to the Individual Indian Defendants, all of their purported

actions were performed in their capacity as officers of Med-Pro Private Limited. As a

result, the Individual Indian Defendants are outside the scope of the long-arm statute

because of the “fiduciary shield” doctrine, under which “personal jurisdiction may not be




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asserted over [an officer] of a corporation based on [his] transaction of business in

Connecticut where the [officer] did not transact any business other than through the

corporation . . .” Milne v. Catuogno Court Reporting Servs., Inc., 239 F. Supp. 2d 195,

203 (D. Conn. 202) (quoting Adams v. Wex, 56 F. Supp. 2d 227, 229 (D. Conn. 1999)).

B.     The Exercise of Personal Jurisdiction Over The Indian Defendants Would Not
       Satisfy Constitutional Minimum Contacts

       Even if Glenwood could meet its burden of demonstrating that the requirements

of Connecticut’s long-arm statute were met as to the Indian Defendants, which it cannot,

Glenwood also cannot demonstrate that exercising jurisdiction over them would comport

with constitutional notions of due process.

       The constitutional due process analysis in this context consists of two

components: (1) whether the defendant has “minimum contacts” with the forum state

and (2) whether exercise of jurisdiction is reasonable under the circumstances of the

particular case. See Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 305 F.3d

120, 127-39 (2d Cir. 2002). “Minimum contacts” are established when a defendant

“purposely avails himself of the privileges and benefits” of the forum state. Hanson v.

Denckla, 357 U.S. 235, 253 (1958). The purposeful availment requirement protects

defendants from being haled into court based on “random, fortuitous or attenuated

contacts,” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985), and assures that




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they have “fair warning” that their conduct could subject them to suit in the forum state.

See Bensmiller v. E.I. DuPont de Nemours & Co., 47 F.3d 79, 85 (2d Cir. 1995)

(“[P]urposeful conduct provides a defendant with ‘fair warning’ that he and his property

may be subject to the exercise of that forum state’s power.”); see also World-Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980) (defendant subject to

jurisdiction only where their “conduct and connection with the forum state [is] such that

[they] should reasonably anticipate being haled into court here.”). This inquiry allows

the Court to determine whether its exercise of personal jurisdiction comports with

“traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington,

326 U.S. 310, 316 (1945).

       1.      The Indian Defendants Do Not Have Any Contacts With Connecticut,
               Much Less Minimum Contacts, Because They Have Never Availed
               Themselves Of The Privileges And Benefits Of Conducting Business In
               Connecticut

       The affidavits filed in support of this motion show that the Indian Defendants

have never set foot in Connecticut and have never maintained a telephone, bank accounts,

employees, an address, an office, owned any real property, owned any personal property,

owned or used a computer network in Connecticut, made telephone calls to anyone in

Connecticut, filed suit against anyone in Connecticut or registered to do business in this

state. As a result, the Indian Defendants do not have “minimum contacts” with




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Connecticut as a matter of law, such that exercising jurisdiction over them would

comport with due process.

       2.      The Asahi Metal Test Demonstrates That Connecticut Would Be A
               Constitutionally Unreasonable Forum

       A defendant may assert that the exercise of personal jurisdiction in a particular

forum is unreasonable under the circumstances. Broad. Mktg. Int’l. Ltd v. Prosource

Sales & Mktg., Inc., 345 F. Supp. 2d 1053 (D. Conn. 2004). The United States Supreme

Court has identified five factors to be considered in evaluating the reasonableness and

fairness of exercising jurisdiction: (1) the burden that the exercise of jurisdiction will

impose on the defendant; (2) the interest of the forum state in adjudicating the case; (3)

the plaintiff’s interest in obtaining convenience and effective relief; (4) the interstate

judicial system’s interest in obtaining the most efficient resolution of the controversy; and

(5) the shared interest of the states in furthering substantive social policies. See Asahi

Metal Industry Co. v. Superior Court of California, 480 U.S. 102, 113 91987).

       The appended affidavits demonstrate that the five factors of the Asahi Metal test

are satisfied, and that the exercise of personal jurisdiction over them would be

unreasonable and unfair as a matter of law. Addressing each of these factors in order,

Connecticut is clearly a highly inconvenient forum for them, in that the Indian

Defendants have no ties to Connecticut and would be put to great expense, undue burden




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and inconvenience to defend a lawsuit many thousands of miles from their place of

residence.

       Moreover, while plaintiff is a Connecticut limited liability company, the Indian

Defendants are all Indian residents or an Indian corporation doing business in India. The

other two defendants are a California citizen and a California corporation residing and

doing business in California, respectively. The weight of this factor indicates that India

has more contacts with a majority of the parties.

       As for the party and non-party witnesses, including the physician practices which

Glenwood claims Med-Pro Private Limited took from them, four are in California; five

are in Maryland; four are in India and only three in Connecticut, including plaintiff.

       For the same reasons, convenient and effective relief would be more likely had in

another state.   In addition, it cannot be said that effective relief could not be had

elsewhere.1

       This reasoning also applies to the fourth element of the Asahi test: the interstate

judicial system’s interest in resolving the matter most efficiently. The claims against the

Indian Defendants would be most efficiently tried in India under Indian law.


1
 The Court should note the arguments in co-defendants’ Motion to Dismiss under Rule
12(b)(6) which indicates that Indian law applies and that most of the relevant actions and
parties took place and/or are located in India.




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       Even if Glenwood is able to show some tangiential contacts between the Indian

Defendants and Connecticut, it is imperative that Glenwood present a compelling case for

“reasonableness” based upon the Asahi factors for the Court to exercise jurisdiction.

Milne v. Catuogno Court Reporting Services, Inc., 239 F. Supp. 2d 195, 198-88 (D.

Conn. 202) (explaining that the term “transacting business” is not broadly interpreted in

Connecticut and that various activities are specifically excluded from the meaning).

Here, it would not be reasonable or consistent with traditional notions of fair play and

substantial justice for the Court to exercise jurisdiction over the Indian Defendants. The

burden and expense on the Indian Defendants if compelled to litigate in Connecticut

would be significant.    Moreover, the Indian Defendants had no idea, let alone any

reasonable expectation, that their work in Chennai, India, on behalf of clients referred to

them by Med-Pro US, would subject them to suit in Connecticut.

       In light of the foregoing, even if the Court finds that the Indian Defendants are

subject to suit under Connecticut’s long-arm statute, their motion to dismiss should still

be granted. Thus, in Neato, Inc. v. Great Gizmos, 2000 WL 305959, at *3 (D.Conn. Feb.

24, 2000), the District Court found that long-arm jurisdiction existed over a foreign

corporation, but nonetheless dismissed the Complaint for lack of personal jurisdiction

because the plaintiff could not show that constitutional due process was satisfied. It




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made this determination based on the fact that the defendant had conducted only minimal

business in the state, with a single customer and the defendant corporation had not

targeted its activities toward Connecticut in particular. Id. at *5. For similar reasons, the

claims against the Indian Defendants herein should also be dismissed.



                                     CONCLUSION

       WHEREFORE, because the Indian Defendants are not subject to jurisdiction

under Connecticut’s long-arm statute and the exercise of jurisdiction by this Court over

them would offend constitutional due process requirements, this action shall be dismissed

as to all four moving parties.




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                            Respectfully submitted,
                            DEFENDANTS MED-PRO HEALTH CARE
                            SERVICES PRIVATE LIMITED, G. JAI
                            BALAJI, N.S. RAJIV KUMAR and
                            K. SIVA KUMAR



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                           CERTIFICATION OF SERVICE

       I hereby certify that on September 29, 2009, a true and correct copy of the

foregoing Notice of Appearance was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

appearing parties by operation of the Court’s electronic filing system, and via United

States First Class Mail, postage prepaid, to anyone unable to accept electronic filing.

Parties may access this filing through the Court’s system:

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                                     ___________________________________
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